                                                                                                                          FILED
     A091(Rev . 11/11) Criminal Complaint
                                                                                                                        JtjN 1 5 2018
                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                   Eastern District of North Carolina

                      United States of America                         )
                                  v.                                   )
                                                                       )
                         Diego Chaj-Ramos
                    a/k/a "Jose Antonio-Ramos"                         )
                                                                       )
                                                                       )
                                                                       )
                              Defendant(s)


                                                   CRIMINAL COMPLAINT
              I, the complainant in this case, state that the following is true to the best of my knowledge and beli ef.
     On or about the date(s) of              November 20, 2017                 in the co unty of                 Wake              in the
          Eastern          District of _ _N_o_rt_h_C
                                                   _a_r_o_lin_a_ _ , the defendant(s) vio lated:

                 Code Section                                                     Offense Description
     18 U.S.C. § 1015(e); and                     The defendant did knowingly make a false statement and claim that he was a
     42 U.S.C. § 408(a}(7)(B)                     United States citizen with the intent to engage in unlawful employment in the
                                                  United States. Further, the defendant, for the purpose of obtaining something
                                                  of value and for other purposes, did knowingly and with intent to deceive,
                                                  falsely represent a Social Security account number to have been assigned to
                                                  him .



              This criminal complaint is based on these facts:

     please see attached affidavit




              iY! Continued on the attached sheet.

                                                                                                    Complainant 's signature

                                                                                       Christopher E. Brant, Special Agent, HSI
                                                                                                     Printed name and title

     Pursuant to Rule 4.1 of the Federal Rules of Criminal Procedure, the applicant appeared before me via
     reliable electronic means and was placed under oath.
      Date:    6/15/2018 9:07 am
                                                                                                   .Judge's signature

      City and state: Ra leigh, North Carolina                                Robert T . Numbers 11,United States Magistrate Judge
                                                                                              Printed name and title




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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                       AFFIDAVIT

           1.   I, Christopher E. Brant , depose and state that I am a Special
     Agent (SA) of the Department of Homeland Security (OHS) , Immigration
     and Customs Enforcement (ICE) , Homeland Security Investigations (HSI)
     and have been so employed for over 11 years. I am assigned to the HSI
     Raleigh , NC field office (HSI-Raleigh) and my duties include , among
     other things, investigating violations of Titles 8 , 18 , 19 , 21 and 31
     of the United States Code (U . S . C . ) . As part of these duties , I have led
     or participated in hundreds of investigations involving criminal and/or
     administrative violations related to money laundering , intellectual
     property rights , narcotics trafficking , bulk cash smuggling , identity
     theft , immigration benefit fraud , document fraud , visa fraud , human
     smuggling , human trafficking , the illegal entry and/ or re - entry of
     aliens , and immigration status violators . Prior to reporting for
     assignment at HSI-Raleigh , I attended training at the Federal Law
     Enforcement Training Center (FLETC) in Glynco , Georgia , where I received
     instruction in Federal criminal statutes , search , seizure and arrest
     authority , use of force , and many other facets of federal and general
     law enforcement . Prior to attending FLETC , I worked five (5) years as
     an accountant and obtained Undergraduate and Master ' s degrees in
     Business Administration and Finance .

          2.       This affidavit is made in support of a criminal complaint
     against Diego Chaj-Ramos (hereinafter referred to as "CHAJ " ) , a l so known
     as "Jose Antonio - Ramos," for knowingly making a false statement and
     claim that he was a United States citizen with the intent to engage
     unlawfully in employment in the United States, in violation of Title
     18 , U. S . C. , § 1015 ( e) , and falsely representing a Social Security
     account number , in violation of Title 42 , U. S . C ., § 408(a) (7) (B) .

          3.   Because this affidavit is being submitted for the limited
     purpose of securing a warrant to arrest CHAJ , I have set forth only
     those facts I believe are necessary to establish probable cause to
     believe that the aforementioned violations occurred and that CHAJ
     committed them . The facts contained in this affidavit come from my
     personal involvement in this investigation , information obtained from
     others involved in this investigation , and a review of the records and
     documents obtained during the course of this investigation.

          4.   On or about June 11, 2018, the ICE Law Enforcement Support
     Center (LESC) received an Immigration Alien Query (IAQ) from the Lee
     County , North Carolina Sheriff ' s Office (LCSO) . The IAQ was generated
     after an individual identified as A.A.C ., a United States citizen born




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     in Puerto Rico on XXXX XX 1980, 1 had been charged with " False Report of
     Theft of Motor Vehicle" and was being held on a $500 secured bond . The
     information was later routed to Enforcement and Removal Operations (ERO)
     Raleigh , North Carolina (ERO-Raleigh) .

           5.   On or about June 11, 2018, ERO-Raleigh telephonically
     interviewed the    individual   identified as     A. A. C. The individual
     initially identified himself as A . A . C ., but later admitted that his
     name was "Diego Chaj-Ramos ", and that he had previously utilized the
     alias "Jose Antonio-Ramos." CHAJ stated that he was a nat i onal and
     citizen of Guatemala and that he had illegally entered the United States
     on or about an unknown date and at or near an unknown location . Record
     checks revealed that CHAJ had no immigration encounters prior to his
     interaction with ERO-Raleigh on June 11, 2018. CHAJ was later assigned
     Alien Number (A- Number) A216 435 906 and an Immigration Detainer was
     lodged with the LCSO in the event CHAJ posted his $500 bond .

          6.    As part of this investigation, I have reviewed Alien File (A-
     File) A216 4 35 90 6. The A- File is maintained by ICE , is in the name
     Diego Chaj-Ramos, and contains CHAJ ' S biographical information , family
     history , records of encounters with ICE , photographs , and fingerprints.
     The A- File reflects the following information relative to CHAJ :

                a.    CHAJ is a citizen and national of Guatemala.

                b.    CHAJ ' S date of birth is XXXXX XX, 1980 and this affidavit
                      and the complaint to which it is attached correctly
                      reflect CHAJ ' S name .

                c.    CHAJ, on or about an unknown date , and at or near an
                      unknown location , illegally entered the United States.

                d.    CHAJ, on or about March 9 , 1999 , was charged in Harris
                      County, Texas for "Driving While Intoxicated " .  On or
                      about March 10, 1999 , CHAJ was convicted and sentenced
                      to 15 days imprisonment. The offense record is under the
                      name Jose Antonio - Ramos .

                e.    CHAJ, on or about October 1 7 , 2013 , was charged in
                      Cumberland County , North Carolina with "Driving While
                      Impaired" . On or about November 2 0 , 2014 , the charges
                      were dismissed . The offense record is under the name
                      A.A.C.

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       The actual Social Security number, full name, and date of birth of the victims
     have been redacted throughout this Affidavit to protect his/her privacy and
     related sensitive information .     Additionally, in an abundance of caution ,
     identification card and driver ' s license numbers have been redacted for the
     same reasons.

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               f.    CHAJ , on or about October 17 , 2013, was charged in or
                     near Wake County , North Carolina for the offense of
                     "Speeding". On or about September 23 ,      2014 , CHAJ
                     received a prayer for judgment . The offense record is
                     under the name A. A . C .

               g.    CHAJ, on or about April 11 , 2015 , was charged in Lee
                     County , North Carolina for the offense of "Driving While
                     License Revoked". On or about June 30 , 2015 , the charges
                     were dismissed. The offense record is under the name
                     A . A . C.

               h.    CHAJ, on or about May     2 , 2015 , was charged in Harnett
                     County, North Carolina    for the offense of "No Operator ' s
                     License ". On or about    April 27, 2017 , the charges were
                     dismissed . The offense   record is under the name A . A . C .

               i .   CHAJ, on or about May 2 , 2015 , was charged in Harnett
                     County , North Carolina for the offense of "Driving While
                     Impaired" , "Reckless Ori ving to Endanger ", and "Civil
                     Revocation of Driver ' s License" . On or about April 27 ,
                     2017, the charges were dismissed . The offense record is
                     under the name A.A.C .

               j .   CHAJ, on or about Ma y 2 , 2015, was charged in Lee County ,
                     North Carolina for the offense of "Driving While
                     Impaired ", "Failure to Maintain Lane Control ", and
                     "Civil Revocation of Driver ' s License ". On or about
                     August 4 , 2017 , was convicted and sentenced to 18 months
                     unsupervised probation . The offense record is under the
                     name A.A.C .

               k.    CHAJ, on or about June 10 , 2018 , was charged in Lee
                     County, North Carolina for the offense of "False Report
                     of Motor Vehicle Theft " . The charges are still pending.
                     The offense record is under the name A . A . C.

          7.   As part of this investigation , I reviewed records from the
     North Carolina Division of Motor Vehicles (NCDMV ) . The records revealed
     the following:

               a.    CHAJ, on or about August 29 , 2011, travel l ed to the NCDMV
                     station located in Lumberton,        North Caro li na and
                     fraudulently represented himself as A . A . C . and applied
                     for a driver's license. CHAJ provided NCDMV officials
                     with a Puerto Rico birth certificate and a Social
                     Security card (SSC) , numbered XXX-XX - 3967 , bo th in the
                     name A . A.C. The NCDMV issued CHAJ (NCDL) XXXX7647 , in
                                          3



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                      the name   and biographical    identifiers   of A . A . c .,   the
                      same day

                b.    CHAJ , on or about June 29 , 20 15, trave lled to the NCDMV
                      station     located  in   Sanford ,  North     Caro lina and
                      fraudulently represented himself as A . A . C . and applied
                      for a duplicate NCDL . CHAJ provided NCDMV officials with
                      a Puerto Rico birth certificate and a SSC , numbered XXX -
                      XX - 3967 , both in the name of A . A . C . The NCDMV issued
                      CHAJ NCDL XXXX7647 ,     in the name and biographical
                      identifiers of A. A. C., the same day.

          8.     As part of this investigation , I obtained a copy of the DHS
     Form I - 9 "Emp loyment Eligibility Verification" form completed by CHAJ
     prior to his employment at Hard Hat Workforce Solutions . The DHS Form
     I-9 revealed that on or about October 2 6 , 2015 , CHAJ fraudulently
     represented himself to be A.A . C., claimed to be a citizen of the United
     States , and provided Hard Hat Workforce Solutions officials NCDL
     XXXX7647 and SSC XXX - XX - 3967 , both in the name A . A. C ., as proof of his
     eligibility for employment . The form was completed in or near Cary ,
     North Carolina , within the Eastern District of North Carolina (EDNC) .

           9.    As part of this investigation , I obtained a copy of the DHS
     Form I - 9 " Employment Eligibility Verification " form completed by CHAJ
     prior to his employment at Premier Electrical Staffing . The DHS Form I -
     9 revealed that on or about June 24 , 2016 , CHAJ fraudulently represented
     himself to be A . A . C. , claimed to be a citizen of the United States , and
     provided Premier Electrical Staffing officials NCDL XXXX7647 and SSC
     XXX -XX- 3967 , both in the name A. A. C., as proof of his eligibility for
     employment . The form was completed in or near Raleigh , North Carolina ,
     within the EDNC.

            10 . As part of this investigation , I obtained a copy of the OHS
     Form I - 9 "Employment Eligibility Verification " form completed by CHAJ
     prior to his employment at KTL -McDonalds . The DHS Form I - 9 revealed
     that on or about August 27 , 2016 , CHAJ fraudulently represented himself
     to be A. A. C . , claimed to be a citizen of the United States , and provided
     KTL - McDonalds officials NCDL XXXX7647 and SSC XXX -XX-3967, both in the
     name A. A. C ., as proof of his eligibility for employment . The form was
     completed in or near Lumberton , North Carolina , within the Eastern
     District of North Carolina (EDNC) .

          11 . As part of this investigation , I obtained a copy o f the DHS
     Form I - 9 " Employment Eligibility Verification" form completed by CHAJ
     prior to his employment at LL Vann Electric . The DHS Form I - 9 revealed
     that on or about November 20 , 2017 , CHAJ fraudulently represented
     himself to be A . A . C ., cla ime d to be a citizen of the United States , and
     provided LL Vann Electric officials NCDL XXXX7647 and SSC XXX - XX - 3967 ,
     both in the name A. A. C ., as proof of his eligibility for employment .
                                           4



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     The form was completed in or near Raleigh, North Carolina , within the
     EDNC .

            12 . As part of this investigation , I have obtained and rev i ewed
     Puerto Rico and Florida OMV records associated with the name and
     biographical identifiers of A . A. C. The records revealed a thirty - seven -
     year - old United States citizen believed to be born in Puerto Rico on
     XXXX XX , 1980, with Social Security Number (SSN ) XX X- XX - 3967 . Included
     with the records is a photograph of A . A. C . The individual photographed
     in the records is not CHAJ.

           13 . Based on the aforementioned information , I believe there is
     ample probable cause to believe that Diego Chaj - Ramos is gu il ty of
     knowingly making a false statement and claim that he was a United States
     citizen with the intent to engage unlawfully in employment in the Un it ed
     States , in violation of Title 18 , U. S . C ., § 1015 ( e) , and falsely
     representing a Social Security account number, in violation of Title
     42 , U. S . C ., § 408 (a) (7 ) (B) .

            Further y our Affiant Sa y eth Not.




                                  Christopher E . Brant
                                  Special Agent
                                  Homeland Security Investigations



     Pursuant to Rule 4.1 of the Federal Rules of Criminal Procedure, the affiant appeared before me via
     reliable electronic means, was placed under oath, and attested to the contents of this written affidavit.
     Dated: June 15 , 2018



     Robert T. Numbers, II
     United States Magistrate Judge




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